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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


                                       )
UNITED STATES OF AMERICA,              )
                                       )
           Plaintiff,                  )
v.                                     )
                                       )
                                       )
                                       )
CHERI L. PERSAUD,                      )
                                       )                No. 07-10180-04 WEB
           Defendant                   )
                                       )
_______________________________________)


                           MEMORANDUM AND ORDER

       The case comes before the Court on Defendant Cheri Persaud’s Motion to Appoint

Counsel Under CJA Act (Doc. 402). Ms. Persaud was one of several defendants charged

in a third superceding indictment containing 73 counts with numerous fraud violations.

On or about September 14, 2009, an order was entered dismissing Ms. Persaud from the

third superceding indictment without prejudice.

       Ms. Persaud’s motion states that she entered into a pretrial diversion agreement

with the government. Counsel advises that pursuant to the diversion agreement, the

government is seeking to take Ms. Persaud’s deposition and claims that because of the

nature of the statements that are anticipated to be made, defense counsel is requesting to

be present. Although Ms. Persaud had retained Mr. Kerns for the above referenced
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criminal proceedings, her motion states that she no longer has the resources to retain

counsel. Therefore, Mr. Kerns requests to be appointed.

       The Court notes that although Ms. Persaud’s motion, dated August 30, 2010,

states that a separate financial affidavit would be submitted, no such affidavit has been

provided. Ms. Persaud’s motion cites no applicable case law or statute that grants this

Court the authority to grant her request. Without such authority and in absence of the

financial information required to support it, her motion must be denied.

       According to the Guide to Judiciary Policy, Volume 7: Defender Services, certain

appointments are mandatory, while others are discretionary. See, § 210.20.10 and

§210.20.20. Specifically, one such discretionary appointment is that counsel “may be

appointed for financially eligible persons proposed by the U.S. attorney for processing

under a ‘pretrial diversion’ program.” § 210.20.20 (d). Although Ms. Persaud’s motion

states that she entered into a pretrial diversion agreement with the government, counsel

here seeks to be appointed for representation at a deposition subsequent to the agreement.

Ms. Persaud was represented during the pretrial diversion process that resulted in the

dismissal of the counts against her in this case.

       The Court can find no authority to appoint Mr. Kerns. First, in the absence of

sufficient financial information from Ms. Persaud to establish the necessity of such an

appointment the Court cannot determine her need. Second, Mr. Kerns’ appointment to

represent Ms. Persaud in a deposition subsequent to a pretrial diversion agreement is a

matter that is at best discretionary under the CJA Act. These facts, taken together, require

that the Court deny Ms. Persaud’s motion.
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     IT IS THEREFORE ORDERED that Ms. Persaud’s Motion to Appoint Counsel

Under CJA Act (Doc. 402) be DENIED.

     IT IS SO ORDERED this 3rd day of September, 2010 at Wichita, Kansas.



                                           s/ Wesley E. Brown

                                           U.S. Senior District Judge
